Case 5:13-cv-04040-DDC Document 1 Filed 04/16/13 Page 1 of 5




                                              13-4040-EFM
   Case 5:13-cv-04040-DDC Document 1 Filed 04/16/13 Page 2 of 5




                                 Breach ofHAMP       Contract

4. On October 6,20] 0, Mr. Romero received a letter from his mortgage servicer, First

   Franklin Loan Services (hereinafter "Franklin"), informing him that his mortgage was

   eligible to participate in HAMP. He signed and returned the modification agreement

   Franklin had enclosed and Franklin modified Mr. Romero's loan accordingly.         Mr.

   Romero made payments under the modified agreement which Franklin accepted and

   processed in accordance with industry-standard          practice.

5. Plaintiff subsequently purchased Mr. Romero's modified loan from Franklin.

6. Plaintiff ignored the modification authorized and implemented under HAMP, instead

   charging Mr. Romero the monthly payment due under the unmodified mortgage and then

   assessing late fees and other charges as if Mr. Romero had violated the terms of the

   unmodified mortgage.

7. Due to Plaintiffs   refusal to implement the HAMP modification, Plaintiff claims Mr.

   Romero is in default and Plaintiff has initiated foreclosure proceedings against Mr.

   Romero.

8. Mr. Romero repeatedly contacted Plaintiff, including via counsel, in an attempt to get

   Plaintiff to correct its erroneous billing practices.

9. As of the date of filing, Plaintiff has not corrected its erroneous biUing practices and

   continues to attempt to enforce the unmodified mortgage contract, including the above-

   mentioned foreclosure proceedings.

10. This continuous failure by Plaintiff to honor the mortgage agreement modified under the

   authority of HAMP constitutes a breach of contract.
      Case 5:13-cv-04040-DDC Document 1 Filed 04/16/13 Page 3 of 5




                                    RESPA Failure to Respond

   11. On October 10, 2012 and in response to Plaintiffs   continuing erroneous billing practices,

      Mr. Romero sent a Qualified Written Reque t (hereinafter "QWR") pursuant to the Real

      Estate Settlement and Procedures Act (RESPA), 12 U.S.C. § 260S(e) via USPS mail,

      return receipt requested.

   12. On October .15, 2010, Defendant received Mr. Romero's QWR.

   13. Pursuant to 12 U.S.C. § 260S(e), Defendant had 30 days (excluding legal public holidays,

       Saturdays, and Sundays) to respond to Mr. Romero's QWR.

   14. That statutory deadline expired on or about November 28,2012.

   15. As of the date of filing, Mr. Romero has still not received any response from Defendant

      to his QWR.

                                  RESPA Credit Rating Violation

   16. Also pursuant to 12 U.S.C. § 260S(e), "[d]uring the 60-day period beginning on the date

      of the servicer's receipt from any borrower of a qualified written request," Defendant was

      constrained from providing "information regarding any overdue payment, owed by such

      borrower and relating to such period or qualified written request, to any consumer

      reporting agency."

   ] 7. During the 60-day period after Defendant received Mr. Romero's QWR, Defendant

      continued to provide information to credit reporting agencies regarding overdue payment

      for the loan referenced in the QWR.

WHEREFORE, plaintiff demands judgment against the Defendant for damages, as follows:

   1. For general damages related to harm Mr. Romero has suffered due to Defendant's breach

      of contract, including those allowed under 12 U.S.C. § 260S(e),
     Case 5:13-cv-04040-DDC Document 1 Filed 04/16/13 Page 4 of 5




   2. For special damages in excess of $75,000.00

   3. For costs of court, including those allowed pursuant to 12 U.S.C. § 2605(t),

  4. For interest on the special damages is accordance with state law, and

   5. For such other relief as the court deems equitable and just.


DATED this 15th of -----
                   April             ,2013.




                                                          Respectfully Submitted,




                                                            Adam Mack, Bar Number 24443
                                                            Taddiken Mack, L.L.C.
                                                            3735 SW Wanamaker Rd., Suite A
                                                            Topeka, KS 66601
                                                            adam.mack@kansasjustice.com
                                                            (785)274-9040
                                                            Attorney for Plaintiff
      Case 5:13-cv-04040-DDC Document 1 Filed 04/16/13 Page 5 of 5




                                      VERIFICATION

STATE OF KANSAS              )
                             )ss:
COUNTY OF JOHNSON            )

       Charles N. Romero, of lawful age, being first duly sworn, on oath deposes and states:
That he is the plaintiff in the above-captioned action; that he has read the above and foregoing
Complaint, knows and understands the contents thereof, and states the statements and allegations
contained therein are true and correct, according to his knowledge, information, and belief.




                                                             /)   ~           !11o-rt.L   ~1)   t3
       SUBSCRIBED AND SWORN TO before me on this 0< I..J;              day ofN~wetl\8&r;~
